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                            LINITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

        VS
                                                                        Case No. 1:18-CV-111

FIFTY.SIX (56) ASSORTED FIREARMS,

               Defendant.
                                           I

                  VERIFIED COMPLAINT FO R FORFEITURE IN REM

        NOW COMES Plaintiff, United States of America, by and through its attorneys, Andrew

Byerly Birge, United States Attomey for the Westem District of Michigan, and Joel S. Fauson,

Assistant United States Attomey, and states upon information and belief in supporl of this Verified

Complaint for Forfeiture In Rem that:

        l.     This Complaint is a civil forfeiture action filed pursuant to l8 U.S.C. $ 924(dX1),

against the following 56 assorted firearms (collectively, the "Defendant Firearms"):

  Firearm
             Name & Description                 Caliber/Serial Number               Asset ID
  Number
             Harrington & Richardson                                                t7-ATF-027295
   F1                                           CAL:12 SN:BB489254
             Topper shotgun

   F7        Winchester 9422 Rifle              CAL:22 SN:F27931                       11-ATF -027302

   F3        Winchester 94 Rifle                CAL:44 SN:3226992M                     l7-ATF-027303

   F4        Browning Gold Hunter Shotgun       CAL:I2 SN:113MM26564                   t7-ATF-027339

   F5        Smith & Wcsson 22S Pistol          CAL:22 SN:UAT6818                      17-ATF-027353




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F6        Colt Delender Pistol              CAL:45 SN:DP2092          t7-ATF-O21f54

F1        Beretta USA Corp 92FS Pistol      CAL:9 SN:BER174592        17-ATF-O27351

F8        Colt Anaconda Pistol              CAL: Unknown SN:MM65408   17-ATF-O2l3s9

F9        Colt Govemment Pistol             CAL:45 SN:CG20201E        t'7-ATF-027364

Fl0       Colt MK IV Mustang Pistol         CAL:380 SN:MS15351        1'7-ATF-027366

Ftl       Ruger P89DC Pistol                CAL:9 SN:309-42837        l7-ATF-027368

Ft2       Colt Cobra Revolver               CAL:32 SN:232765          t7 -ATF -02737 |


Fl3       colr MK IV Pistol                 CAL:45 SN: SN:SS14774     17-ATF-027373

          Bushmaster Firearms XMI 5-
F14                                         CAL:223 SN:BK1802796      t7-ATF-027399
          E2S Rifle
          Bushmaster Firearms XMI 5-
Fl5                                         CAL:223 SN:BFH0O1181      t7-ATF-02'7404
          E2S Rifle

F16       Browning Shotgun                  CAL:12 SN:NWTF0l0085      t7-ATF-027408

Ftl       Smith & Wesson M&P l5 Rifle       CAL:556 SN:SY03439        17-,\TF-027414

          Reminglon Arms Company,                                     17-ATF-027419
Fr8                                         CAL:20 SN: 8911315U
          Inc. 870 Express Shotgun
          Remington Arms Company,                                     17-ATF-027423
Fl9                                         CAL:12 SN:R064004V
          Inc. 1 100 Shotgun
P20       Marlin Firearms Co. I 895 Rifle   CAL:45-70 SN:MRl4522F     t7-ATF-027425

          Remington Arms Company,
F2t                                         CAL:22 SN:A.2629086       t7-ATP-027427
          Inc. 597 tufle
F22       Ruger 10/22 Rifle                 CAL:22 SN:252-91 369      17-,\TF-027430
          Rernington Arms Company,
F23                                         CAL:22 SN:B1588149        17-ATF-027434
          lnc. 552 Rifle
          Henry Repeating fufle
F24       Company H004 Golden Boy           CAL:22 SN: GB482103       17-ATF-027437
          Rifle
          Henry Repeating Rifle
F25                                         CAL:45 SN: BB0056926C     t7-ATF-027441
          Company H006C Big Boy Rifle



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          Henry Repeating Rifle
F26       Company H001Y Lever Youth       CAL:22 SN: Y053785H      11-ATF-02'7446
          Rifle
F27       Winchester 1 300 Shotgun        CAL:12 SN:L3251769       11-41'F-027449

          Henry Repeating Rifle
F28       Company H001M Lever Mag         CAL:22 SN: M061733H      17-ATF-027452
          Rifle
          Henry Repeating fufle
F29       Company H001 Lever Action       CAL:22 SN: 853298H       1'7-ATF-O27453
          Rifle
          Remington Arms Company,
F30                                       CAL:28 SN:L183896J       17-ATF-027456
          Inc. 1 100 Shotgur.r

F31       Winchester 94 Rifle             CAL:30 SN:1262070        17-ATF-027451

          Herington & Richardson 1871
F32                                       CAL:12 SN:N2780603       t7-ATF-027459
          Pardner Pump Shotgun
          Remington Arms Company,
F33                                       CAL:12 SN:N719746V       17-ATF-027460
          lnc. 1100 Shotgun
F34       Winchester Unknown Rifl    e    CAL:30-30 SN:68530       17-ATF-021461

          Remington Arms Company,
F35                                       CAL:12 SN:V255749M       1l-ATF-027462
          Inc. 870 Shotgun
F36        Savage 62   fufle              CAL'.22 SN:L352146       t7-ATF-027463

           Springfield Armory   l9l lAl                            t'7-ATF-027470
F37                                       CAL:45 SN:NM486872
           Pistol

F38        Colt Mustang XSP Pistol        CAL:380 SN:MP03793       t7 -ATP -02747 |


F39        Colt 1991A1 Pistol             CAL:45 SN:281 1 083      t7-ATF-0274'.73

F40        Walther P99 Pistol             CAL:40 SN:41 I 192       17-ATF -O27474

F41        Smith & Wesson M&P 9 Pistol    CAL:9 SN:DXC3046         17-ATF-O2747s

F42        Walther P22 Pistol             CAL:22 SN:L010036        t7-ATF-O27417

F43        Ruger P90 Pistol               CAL:45 SN:662-02379      11-ATF-027479

F11       Winchester 94 Rifle             CAL:32 SN:1906911        17-ATF-O2t482




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 F45          Winchester 94 Rifle               CAL:30-30 SN:2279007                 1',7-ATF-O27483


 F46          Winchester 94 Rifle               CAL:30 SN: 1572632                   17-ATF-021485

 F47          Savage 93R 17 Rifle               CAL:17 SN:2343249                    1'.7-ATF-027490


 F48          Winchester 1300 Shotgun            CAL:20 SN:L3366899                  17-ATF-027495

              Remington Arms Company,
 F49                                            CAL:410 SN:L180481H                  17-ATF-027500
              Inc. I 100 Shotgun
 F50          Colt M4 Rifle                     CAL: 5.56 SN:L8147676                I   7-ATF-02751    I



 F51          Winchester 94 Rifle                CAL:32 SN:1483967                   17-A lF-O27512

              Remington Arms Company,                                                I 7-ATF-0275      t4
 F52                                             CAL:12 SN:8922847M
              Inc. 870 Shotgun

 F53          Beretta AL2 Shotgun                CAL: l2 SN: G27045                  17-ATF-027308

 F54          Winchester 9zl Rifle               CAL: 30-30 SN: TRi6789                  1'7-ATF-021310

  F55         Marlin 25MN Shotgun                CAL: 22WMR SN: 03415614                 17-ATF-021492

  F56         Smith & Wesson 66-4                CAL: 357 SN: BSP7746                    17-ATF-027467


                                 JURISDICTION A}ID VENUE

        2.      The Court has original jurisdiction over this proceeding pursuant to 28 U.S.C.    $


1345, as this action is being commenced by the United States of America as Plaintiff.

         3.     This Court has jurisdiction over this forfeiture action pursuant to 28 U.S.C.

S1355(bX1)(A), as the acts giving rise to the forfeiture occurred in the Westem District of

M ichigan.


        4.      Venue is proper before this Court pursuant to 28 U.S.C. $ 1395(b), as the

defendant property is located within the Westem District of Michigan.

                                 THE DEFENDANTS-IN-REM


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       5.      On or about September 7, 2017, Special Agents with the Bureau ofAlcohol,

Tobacco, Firearms, and Explosives (ATF) seized the Defendant Firearms during the search      of

Rimfire Resale and Pawn, LLC located at 46O1 l34th Avenue, Hamilton, Michigan pursuant to a

federal search warrant. The Defendant Firearms are currently in the custody of ATF in Grand

Rapids, Michigan.

       6.      As set forth below, the Govemment alleges that the Defendant Firearms are

subject to forfeiture to the United States pursuant to 18 U.S.C. $924(dXl) because they were

involved in a willtul violation of l8 U.S.C. $922(m).

                                        BACKGROI]ND

       7.      The Gun Control Act, I8 U.S.C. $921 etseq., makes it unlawful for any person

other than a licensed dealer to engage in the business of dealing in firearms. The responsibility

for enforcing the Gun Control Act, including the provisions related to federal firearms licensees

("FFLs"), has been delegated to ATF.

       8.      Among other things, FFLs are required to record their acquisition and disposition

of every firearm in an acquisition and disposition C'A&D') record and to maintain the A&D

record at theh licensed business premises. For each firearm taken into and transferred out   of

inventory, the FFL is required to record the make, model, serial number, type and caliber or

gauge of the firearm; the date ofacquisition; the name and address (or federal firearms license

number) from whom the firearm was acquired; the date on which the firearm was disposed of;

and the name and address (or federal firearms license number or Form 4473 transaction number)

ofthe person to whom the dealer transferred the firearm.




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       9.      In addition to A&D records, an FFL is required to obtain a completed ATF Form

4473 (lhe "Firearms Transaction Record") from the actual buyer and complete portions    ofthe

form itself before the FFL can transfer or sell a firearm to any unlicensed person. An FFL may

not complete a transfer to an unlicensed person without conducting a background check and

recording the information on the Form 4473 or recording the unlicensed person's permit that

qualified as an alternative to a NICS check on the form.

                           FACTS SUPPORTING FOREFEITURE

       10.     Rimfire Resale and Pawn, LLC is a FFL operating at 4601 l34th Avenue,

Hamilton, Michigan. On January 7, 2010, Rimfire Resale and Pawn, LLC, through its listed

responsible parties, Ricky Lee Hoek and Timothy Scott VanWieren, was granted FFL 4-38-005-

02-98-05140 by   ATF. With this FFL, Hoek and VanWieren engaged        in the business of dealing

firearms as Rimfire Resale and Pawn, LLC.

       11.     In June 2017, ATF received information from the Allegan County Sheriff s Office

that Rimfire Resale and Pawn might be selling firearms without requiring identification or other

required paperwork.

        12.    Subsequently, on or about August 17, 2017, Michigan State Police Detective

Waterway, acting in an undercover capacity, went to fumfire Resale and Pawn and purchased a

Harrington and Richardson, Model Topper 88, bearing serial number AU477395. Rimfire

Resale and Pawn did not conduct a NICS background check or record a qualified permit, as

required by law, and failed to complete Form 4473.

       13.     On or about August 24, 2017, ATF Special Agent Westra and Detective

waterway, both acting in an undercover capacity, went to Rimfire Resale and pawn to make



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another purchase. SA Westra indicated to VanWieren that he intended to purchase a             rifle for

himself, and that Detective Waterway wanted to get a handgun. SA Westra also informed

VanWieren that it was his desire to purchase firearms without having any documentation

associated. VanWieren informed SA Westra that he could sell any of the long guns without

documentation but that he needed to document all handgun sales. During the transaction,

Detective Waterway claimed he did not have his driver's license. VanWieren indicated SA

Westra would have to purchase the gun for Detective Waterway using his license. SA Westra

purchased a rifle bearing serial number WW118378 without completing Form             4473. SA Westra

purchased a HighPoint Model C9 9mm pistol bearing serial number P10002483 for Detective

Waterway. VanWieren instructed SA Westra to fill out Form         44'13 but coached SA Westra how


to lie on the form to "correctly" answer the questions. SA Westra made it clear to VanWieren

that he was purchasing the pistol for Detective Waterway.

        14.     On or about September 7,201'7, ATF executed a federal search warrant at Rimfire

Resale and   Pawn. VanWieren was present during the search. ATF informed VanWieren that

he was not under arrest and that he was free to   leave. ATF also informed VanWieren that he

and Rimfire Resale and Pawn were under investigation for failing to complete acquisition and

disposition paperwork as required by law and failing to conduct criminal background checks as

part ol firearms transactions.

        15.     VanWieren spoke with ATF investigators during the search. VanWieren

admitted that he was not filling out the required acquisition and disposition paperwork for long

guns. vanwieren     stated his beliefthat   ifprivate party long gun   sales can transpire   without




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paperwork or a backgtound check, he believe dealers should be able to do the same. VanWieren

also admitted that in the past, he had permitted straw purchases ofhandguns.

         16.        ATF seized Rimfire Resale and Pawn's acquisition and disposition logbook and

the Defendant Firearms during the search.

         17.        None of the Defendant Firearms were recorded in Rimfire Resale and Pawn's

acquisition and disposition logbook. VanWieren and/or others working at Rimfire Resale and

Pawn   willfully failed to keep   accurate acquisition and disposition records for the Defendant

Firearms, as required by law.

                                                 CLAIM
                  (Forfeiture of Firearms Involved in    a   Violation of 18 U.S.C.   $ 922(m)

         1   8.     Plaintiff hereby re-alleges paragraphs numbered I through I 7, as referenced

above.

          19.       The Defendant Firearms are subiect to forfeiture to the United States pursuant to

I8   U.S.C. $924(dX1) because they were involved in a willtul violation of I 8 U.S.C. $ 922(m).

                                                 RELIEF

         Wherefore, the United States prays that the usual process for forfeiture issue against the

Defendant Firearms; that due notice be given to all interested parties to appear and show cause

why forfeiture to the United States of America should not be decreed; that the Defendant

Firearms be condemned and forfeited to the United States of America and be delivered into the

custody ofthe Bureau of Alcohol, Tobacco, Firearms and Explosives for disposition according to

law, and for such other relief as this Court may deem just and proper.

                                                             ANDREW BYERLY BIRGE
                                                             United States Attomev



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Dated: February    l, 2018
                                                             EL S. FAUSON
                                                          Assistant United States Attorney
                                                          P.O. Box 208
                                                          Grand Rapids, MI 49501-0208
                                                          (616) 456-2404


                                          !.ERIFICATION

         I am a Special Agent of the Bureau of Alcohol, Tobacco, Firearms, and Explosives,     and

one   ofthe agents assigned the responsibility for this   case.


         I have read the contents ofthe foregoing Verified Complaint for Forfeiture in Rem and the

statements contained therein are true to the best   ofmy knowledge and belief.

         I declare under penalty ofperjury that the foregoing is true and correct.



Dated: February 1,2018
                                                    J         CHEN
                                                    Special Agent
                                                    Bureau ofAlcohol, Tobacco, Firearms, and
                                                    Explosives




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